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                               Exhibit 1
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Reg. No. 5,457,305           Audi AG (GERMANY CORPORATION)
                             85045
Registered May 01, 2018      Ingolstadt, FED REP GERMANY

                             CLASS 6: Goods of metal, namely, badges for vehicles
Int. Cl.: 6, 12
                             CLASS 12: Land vehicles, namely, automobiles and their structural parts; radiator grilles;
Trademark                    non-metal emblems for vehicles, namely, automotive hood ornaments, insignia for vehicles
                             and automotive exterior metal decorative trim
Principal Register
                             PRIORITY CLAIMED UNDER SEC. 44(D) ON GERMANY APPLICATION NO.
                             302017003592, FILED 02-13-2017, REG. NO. 302017003592, DATED 02-13-2017,
                             EXPIRES 02-28-2027

                             The mark consists of the letters "R" and "S" in block capitalized letters, outlined, with the
                             letter "R" interposed over a rectangular block, double-outlined.

                             SER. NO. 87-509,102, FILED 06-28-2017
  Case: 1:20-cv-00946 Document #: 1-1 Filed: 02/10/20 Page 19 of 21 PageID #:33



     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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        Case: 1:20-cv-00946 Document #: 1-1 Filed: 02/10/20 Page 20 of 21 PageID #:34




Reg. No. 5,093,264           AUDI AG (GERMANY JOINT STOCK COMPANY)
                             85045 Ingolstadt
Registered Dec. 06, 2016     FED REP GERMANY

                             CLASS 11: Lighting apparatus for vehicles; lighting apparatus, namely, lighting fixtures and
Int. Cl.: 11, 35             lighting installations

Service Mark                 CLASS 35: Advertising, business management

Trademark                    THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                             PARTICULAR FONT STYLE, SIZE OR COLOR
Principal Register           OWNER OF INTERNATIONAL REGISTRATION 1095393 DATED 06-16-2011,
                             EXPIRES 06-16-2021

                             SER. NO. 79-170,349, FILED 05-27-2015
                             KATHLEEN MARY VANSTON, EXAMINING ATTORNEY
  Case: 1:20-cv-00946 Document #: 1-1 Filed: 02/10/20 Page 21 of 21 PageID #:35



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NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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